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 1 Francesco Benavides, CSBN 258924
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 4       Email: francesco@benavidesdisabilitylaw.com
 5
   Attorney for Plaintiff
 6 PATRICK LEO MOTEN
 7
 8                           UNITED STATES DISTRICT COURT

 9                           EASTERN DISTRICT OF CALIFORNIA

10                                SACRAMENTO DIVISION

11
     PATRICK LEO MOTEN,                      Case No. 2:24-cv-00424-CKD
12
13              Plaintiff,                   STIPULATION FOR THE AWARD AND
                                             PAYMENT OF ATTORNEY FEES AND
14                     v.                    EXPENSES PURSUANT TO THE
15                                           EQUAL ACCESS TO JUSTICE ACT;
   MARTIN J. O’MALLEY,                       ORDER
16 Commissioner of Social Security,
17
                Defendant.
18
          IT IS HEREBY STIPULATED by and between the parties through their
19
   undersigned counsel, subject to the approval of the Court, that Plaintiff be awarded
20
   attorney fees and expenses in the amount of $7,858.22, under the Equal Access to
21
   Justice Act (EAJA), 28 U.S.C. § 2412(d), and no costs under 28 U.S.C. § 1920. This
22
23 amount represents compensation for all legal services rendered on behalf of Plaintiff by
24 counsel in connection with this civil action, in accordance with 28 U.S.C. §§ 2412(d),
25 1920.
26         After the Court issues an order for EAJA fees to Plaintiff, the government will
27 consider the matter of Plaintiff’s assignment of EAJA fees to counsel. Pursuant to
28 Astrue v. Ratliff, 560 U.S. 586, 598, 130 S.Ct. 2521, 177 L.Ed.2d 91 (2010), the ability
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 1 to honor the assignment will depend on whether the fees are subject to any offset
 2 allowed under the United States Department of the Treasury’s Offset Program. After
 3 the order for EAJA fees is entered, the government will determine whether they are
 4 subject to any offset.
 5         Fees shall be made payable to Plaintiff, but if the Department of the Treasury
 6 determines that Plaintiff does not owe a federal debt, then the government shall cause
 7 the payment of fees, expenses and costs to be made directly to Plaintiff’s counsel,
 8 Francesco Benavides, pursuant to the assignment executed by Plaintiff.
 9       This stipulation constitutes a compromise settlement of Plaintiff’s request for
10 EAJA attorney fees and does not constitute an admission of liability on the part of
11 Defendant under the EAJA or otherwise. Payment of the agreed amount shall
12 constitute a complete release from, and bar to, any and all claims that Plaintiff and/or
13 Francesco Benavides, including the Law Offices of Francesco Benavides, may have
14 relating to EAJA attorney fees in connection with this action.
15        This award is without prejudice to the rights of Francesco Benavides to seek
16 Social Security Act attorney fees under 42 U.S.C. § 406(b), subject to the savings
17 clause provisions of the EAJA.
18
19                                         Respectfully submitted,
20
21
     Dated: June 20, 2024                  Law Offices of Francesco Benavides
22
                                     By:   /s/ Francesco Benavides
23
                                           FRANCESCO P. BENAVIDES
24                                         Attorney for Plaintiff
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 1 Dated: June 20, 2024               PHILLIP A. TALBERT
                                      United States Attorney
 2                                    MATHEW W. PILE
 3                                    Associate General Counsel
                                      Social Security Administration
 4
 5                              By:   Gabriel Bono*
                                      GABRIEL BONO
 6                                    Special Assistant U.S. Attorney
 7                                    Attorneys for Defendant
                                      (*Permission to use electronic signature
 8                                    obtained via email on June 20, 2024).
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            Case 2:24-cv-00424-CKD Document 17 Filed 06/21/24 Page 4 of 4


 1                                         ORDER

 2         Based upon the parties’ Stipulation for the Award and Payment of Equal Access
 3
     to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
 4
 5 amount of $7,858.22 as authorized by 28 U.S.C. § 2412, and no costs under 28 U.S.C.
 6 § 1920, be awarded subject to the terms of the Stipulation.
 7
 8
 9 Dated: June 21, 2024
                                             _____________________________________
10                                           CAROLYN K. DELANEY
                                             UNITED STATES MAGISTRATE JUDGE
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